         Case 1:14-cv-01243-RMC Document 22 Filed 01/30/15 Page 1 of 1
                  United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________
No. 14-5281                                                 September Term, 2014
                                                                        1:14-cv-01243-RMC
                                                        Filed On: January 30, 2015
Laura Holmes and Paul Jost,

              Appellants

       v.

Federal Election Commission,

              Appellee

       BEFORE:       Garland, Chief Judge, and Henderson, Rogers, Tatel, Brown,
                     Griffith, Kavanaugh, Srinivasan, Millett, Pillard, and Wilkins,
                     Circuit Judges

                                         ORDER

      Upon consideration of the motion of the Federal Election Commission for remand,
the opposition thereto, and the reply, it is

      ORDERED, on the court’s own motion, that this case be removed from the March
30, 2015 oral argument calendar. It is

       FURTHER ORDERED that the motion be granted and this case is hereby
remanded to the district court. The court grants the motion to remand this 52 U.S.C.
§ 30110 (formerly 2 U.S.C. § 437h) case in order to provide the parties an opportunity to
develop, by expedited discovery or otherwise, the factual record necessary for en banc
review of the plaintiffs’ constitutional challenge. See Cal. Med. Ass’n v. FEC, 453 U.S.
182, 192 n.14 (1981); Wagner v. FEC, 717 F.3d 1007, 1009 (D.C. Cir. 2013). It is

        FURTHER ORDERED that the district court shall complete the functions
mandated by § 30110 and described in Wagner v. FEC, 717 F.3d at 1009, including the
development of a record for appellate review, by April 24, 2015. The district court is to
certify any constitutional question(s) by that date as well.

        Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk
is directed to transmit to the district court a copy of this order in lieu of formal mandate.

                                        Per Curiam

                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk
                                                  BY:     /s/
                                                          Michael C. McGrail
                                                          Deputy Clerk
